 Case 18-64828-jwc     Doc 12    Filed 10/22/18 Entered 10/22/18 13:25:34      Desc
                                       Page 1 of 2


                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE:                                      )       CHAPTER 13
JOYCE TERRY                                 )       CASE: A18-64828-JWC
                                            )
                                            )
                DEBTOR                      )

           CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION
                      AND MOTION TO DISMISS CASE

       COMES NOW, Nancy J. Whaley, the Standing Chapter 13 Trustee herein, and
objects to Confirmation of the plan for the following reasons:

                                           1.

      The Trustee was unable to conduct the Meeting of Creditors pursuant to 11 U.S.C.
Section 341 because the Debtor failed to appear.

                                           2.

      The Debtor has not filed a plan as required by 11 U.S.C. Section 1321.

      WHEREFORE, the Trustee moves the Court to inquire into the above objections,
deny Confirmation of the Debtor’s plan, and to dismiss the case.

This the 22nd day of October, 2018.
                                       Respectfully submitted,

                                       /s/__________________________________
                                       Ryan J. Williams
                                       Attorney for the Chapter 13 Trustee
                                       State Bar No. 940874
 Case 18-64828-jwc     Doc 12    Filed 10/22/18 Entered 10/22/18 13:25:34      Desc
                                       Page 2 of 2


                             CERTIFICATE OF SERVICE


Case No: A18-64828-JWC

This is to certify that I have this day served the following with a copy of the foregoing
Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case by
depositing in the United States mail a copy of same in a properly addressed envelope with
adequate postage thereon.


Debtor(s)
JOYCE TERRY
3649 CECILIA WAY
LOGANVILLE, GA 30052


Attorney for the Debtor(s):
LAW OFFICE OF JONATHAN MELNICK
3355 LENOX RD
SUITE 750
ATLANTA, GA 30326




This the 22nd day of October, 2018.


/s/__________________________________
Ryan J. Williams
Attorney for the Chapter 13 Trustee
State Bar No. 940874
303 Peachtree Center Avenue, NE
Suite 120
Atlanta, GA 30303
